 Case 6:21-cv-01081-CEM-LRH Document 1 Filed 04/20/21 Page 1 of 17 PageID 1




UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
__________________________________________
                                          )
CLAY KALLMAN,                             )                  Case No.   21-cv-2183
                                          )
                  Plaintiff,              )
                                          )
      v.                                  )
                                          )
JETBLUE AIRWAYS CORPORATION,              )
                                          )
                  Defendant.              )
                                          )
__________________________________________)

                                          COMPLAINT

       Plaintiff, Clay Kallman, by his attorneys, Seham, Seham, Meltz & Petersen, LLP, as and

for his complaint against the Defendant, JetBlue Airways Corporation, alleges as follows:

                                  NATURE OF THE ACTION

       1.      Plaintiff brings this action against his former employer, JetBlue Airways

Corporation, pursuant to the Americans with Disabilities Act of 1990, as amended, 42 U.S.C. §

12101 et seq., Title VII of the Civil Rights Act of 1964, as amended, 42 U.S.C. § 2000e et seq.,

the Age Discrimination in Employment Act of 1967, as amended, 29 U.S.C. § 621 et seq., and

the New York State Human Rights Law, Executive Law § 290 et seq., for discriminatory conduct

by the Defendant against the Plaintiff that resulted in his unlawful termination on March 16,

2020. Plaintiff was discriminated against on the basis of his disability (Type II Diabetes),

religion (Jewish), age (60), and sexual orientation (heterosexual).

                                JURISDICTION AND VENUE

     2.        This Court has subject matter jurisdiction over Plaintiff’s federal claims pursuant

to 28 U.S.C. § 1331, as this action arises under the laws of the United States, namely, the
 Case 6:21-cv-01081-CEM-LRH Document 1 Filed 04/20/21 Page 2 of 17 PageID 2




Americans with Disabilities Act, Title VII of the Civil Rights Act, and the Age Discrimination in

Employment Act. This Court has supplemental jurisdiction over Plaintiff’s state law claims

pursuant to 28 U.S.C. § 1367(a).

     3.        Venue is proper in this district pursuant to 28 U.S.C. § 1391(b)(1) because the

Defendant, JetBlue Airways Corporation, resides in this district.

                 EEOC FILING AND ADMINISTRATIVE PROCEDURES

       4.      Plaintiff filed a charge of discrimination with the Equal Employment Opportunity

Commission (“EEOC”) on March 20, 2020. On April 6, 2021, the EEOC issued a Notice of

Right to Sue. Plaintiff filed this action within ninety (90) days of receiving his Notice of Right to

Sue from the EEOC. A true and correct copy of the Notice of Right to Sue is attached as Exhibit

A.

                                             PARTIES

       5.      At all times relevant hereto, plaintiff, Clay Kallman (“Plaintiff” or “Kallman”),

was and is a resident and domiciliary of the State of Florida, with his principal residence located

at 2500 Lake Wade Court, Orlando, FL 32806

       6.      At all times relevant hereto, defendant, JetBlue Airways Corporation (“JetBlue”

or the “Company”) was and is a corporation duly organized and existing under and by virtue of

the laws of the State of Delaware, with its principal place of business located at 27-01 Queens

Plaza North, Long Island City, New York 11101, in the County of Queens.

                                    STATEMENT OF FACTS

       7.      Kallman was hired by the defendant on March 30, 2011 as a Flight Attendant

after two decades of honorable service as a firefighter and paramedic with Orange County Fire

and Rescue in Orange County, Florida.



                                                  2
 Case 6:21-cv-01081-CEM-LRH Document 1 Filed 04/20/21 Page 3 of 17 PageID 3




       8.      For nearly seven years, Kallman fulfilled his duties as a Flight Attendant without

incident. The only instance of behavior that resulted in any manner of employer intervention

involved a post on the JetBlue Tell Inflight intranet in which Kallman criticized the rollout of a

new cart program for serving food on or around June 10, 2018. Kallman was required to attend a

meeting on June 20, 2018, with members of the JetBlue People Department and other JetBlue

representatives including Wanda Garcia, Crew Relations Field Generalist, and Lenda Reyes,

Kallman’s team leader.

       9.      In the June 20 meeting, Kallman informed those present that other Flight

Attendants and Pilots had been making anti-Semitic comments about Jewish passengers. On

flights with mostly Jewish passengers, they would frequently remark how “smelly, loud, rude

and cheap Jews are,” how they “hated them,” that the Jewish passengers’ children are

“uncontrolled animals,” that they want to pray on the airplane, and questioned “why can’t they

just eat the food we give them?” The Flight Attendants and Pilots who made such anti-Semitic

comments did not want to work those flights with mostly Jewish passengers because of them.

These comments were made in Kallman’s presence with blatant disregard for the fact that he

himself is Jewish, a fact that his crew mates were aware of, and created for Kallman a hostile

work environment due to the pervasiveness of these comments.

       10.     Kallman was assured at the meeting that his allegations would be investigated and

that a letter would be sent out to the Flight Attendants and Pilots indicating that management was

aware of the situation and that such behavior is not acceptable. Although a JetBlue corporate

representative called Kallman inquiring about his allegations and reassuring him that action

would be taken, Kallman was never contacted again about the matter and the promised letter




                                                 3
 Case 6:21-cv-01081-CEM-LRH Document 1 Filed 04/20/21 Page 4 of 17 PageID 4




instructing Flight Attendants and Pilots to refrain from anti-Semitic behavior was never sent out.

Consequently, the anti-Semitic conduct about which Kallman complained continued unabated.

       11.     On June 27, 2019, Kallman was diagnosed with Type II Diabetes and began

taking medication to regulate his blood sugar. His physician put him on a drug called Metformin,

to be taken twice a day at a 500 milligram dosage.

       12.     On January 3, 2020, Kallman worked a flight to Buffalo, New York, that was

delayed a few hours into the early morning of January 4, 2020. JetBlue provided lodging for

Kallman at the Hyatt Regency Hotel in downtown Buffalo.

       13.     On January 4, 2020, Kallman went to a restaurant in the downtown Buffalo area

in the late afternoon to watch the professional Buffalo hockey and football games that were

taking place. He began to feel ill shortly after and decided that it would be a good idea to take a

taxi back to the Hyatt Regency Hotel since he had to work early the next morning.

       14.     Kallman arrived at the Hyatt sometime in the early evening on January 4, 2020,

and, feeling even worse, decided to get some food in his system before retiring for the night.

       15.     When Kallman arrived at the hotel restaurant, he was exhibiting signs typical of a

diabetic episode: disorientation, sluggish movement, impediments to speech, and “acetone

breath” – a condition where the body begins to burn fat instead of glucose, resulting in

potentially dangerous byproducts that are then excreted through the respiratory tract that smell

sweet, acetone-like and alcoholic. Misperceiving his diabetic episode as inebriation, the hotel

restaurant refused to serve Mr. Kallman food, thereby aggravating the diabetic episode.

       16.     When Kallman reiterated his request for the food necessary to address his

condition, the hotel staff contacted the Buffalo police and had Kallman arrested for criminal

trespassing.



                                                 4
 Case 6:21-cv-01081-CEM-LRH Document 1 Filed 04/20/21 Page 5 of 17 PageID 5




       17.     Kallman spent at least five hours in police custody without medical attention,

blood sugar monitoring or nourishment of any kind until he was released somewhere around two

in the morning (2:00 A.M.) on January 5, 2020.

       18.     Despite the allegations made by the Hyatt hotel staff that Kallman was inebriated,

Kallman never underwent, nor was he asked to submit to, any alcohol or blood sugar testing

before or after being taken into custody.

       19.     The criminal trespass charge initiated by the hotel was subsequently disposed of

by an adjournment in contemplation of dismissal (ACD). Pursuant to the ACD, the charge has

been dismissed.

       20.     On January 5, 2020, Kallman was scheduled to work a trip pairing for which he

was to report at 6:00 a.m. He was contacted on his way to the airport by JetBlue Crew Services

and informed that he would not be flying and to remain in Buffalo given the events that took

place only a few hours earlier. Kallman remained in Buffalo until the next morning.

       21.     On or around January 6, 2020, Kallman attended a meeting addressing the

incident at the Hyatt with members of the JetBlue People Department that included Team Leader

David Davis in Orlando, Florida.

       22.     Davis assured Kallman after the meeting that all he needed to do was provide

proof of his Type II Diabetes diagnosis to back up Kallman’s contention that he did indeed suffer

a diabetic episode on January 4, 2020.

       23.     On or around February 13, 2020, Kallman began an email correspondence with

Wanda Garcia, JetBlue Crew Relations Field Generalist, in order to confirm his Type II Diabetes

diagnosis.




                                                 5
 Case 6:21-cv-01081-CEM-LRH Document 1 Filed 04/20/21 Page 6 of 17 PageID 6




       24.     Garcia had also participated in the June 2018 meeting where Kallman alerted

management to the rampant anti-Semitism among JetBlue’s Flight Attendants and Pilots.

       25.     Garcia requested a physician’s note to substantiate Kallman’s claim that the

behavior he exhibited on January 4, 2020, was indeed the result of his diabetic disability, which

Kallman provided to JetBlue on February 24, 2020.

       26.     JetBlue continued to assign Kallman, and Kallman continued to fly, trip pairings

in the months of January, February and March. He performed his duties as a Flight Attendant on

numerous flights in the period between January 4, 2020 and his suspension on March 15, 2020.

He was not issued any notice of discipline during that period of time.

       27.     On March 15, 2020, JetBlue notified Kallman that he would be suspended without

pay while an investigation was being conducted into the January 4, 2020 incident at the Hyatt

Regency Hotel in Buffalo. JetBlue’s suspension letter promised a “full and fair investigation.”

       28.     On March 16, 2020 – just one day after being informed that the circumstances

surrounding his suspension required a “full and fair investigation” and more than two months

after the Buffalo incident – Kallman was issued a letter of termination from JetBlue. JetBlue

sought no further information from Kallman from the time of the issuance of the suspension

letter through the time of the issuance of his termination letter. The March 16 letter provided no

basis for Kallman’s termination other than a non-specific reference to a “violation of company

policy.”

                                           COUNT I
                        Violation of the Americans with Disabilities Act
                                      Disparate Treatment

       29.     Plaintiff repeats and realleges the allegations contained in paragraphs “1” through

“28” of the Complaint as if more fully set forth herein.


                                                 6
 Case 6:21-cv-01081-CEM-LRH Document 1 Filed 04/20/21 Page 7 of 17 PageID 7




       30.     Plaintiff suffers from a disability (Type II Diabetes) as defined by the Americans

with Disabilities Act, as amended, because at all times relevant to the allegations herein he had

and has a physical impairment that substantially limits one or more major life activities.

       31.     Diabetes is an impairment that “will, as a factual matter, virtually always be found

to impose a substantial limitation on a major life activity. 29 C.F.R. §§ 1630.2(j)(3)(ii).

“[D]iabetes substantially limits endocrine function.” 29 C.F.R. §§ 1630.2(j)(3)(iii).

       32.     Plaintiff’s diabetes substantially limits endocrine function and substantially limits

major life activities such as performing manual tasks, eating, sleeping, walking, standing, lifting,

bending, speaking, concentrating, thinking, communicating, and working.

       33.     In the alternative, if Plaintiff is not found to have a physical impairment that

substantially limits one or more major life activities, he was regarded as having such an

impairment because Defendant was advised of his diabetic condition and Defendant subjected

Plaintiff to suspension and termination because of his perceived diabetic condition.

       34.     Plaintiff was treated in a disparate manner as a result of having a diabetic condition

that substantially limits one or more major life activities or being regarded as having such an

impairment, and was therefore caused to suffer adverse employment actions, including suspension

without pay and termination.

       35.     Plaintiff’s disability is a significant reason for his being treated in a disparate

manner.

       36.     As a result thereof, the defendant discriminated against the plaintiff based upon his

disability, in violation of the Americans with Disabilities Act.




                                                   7
 Case 6:21-cv-01081-CEM-LRH Document 1 Filed 04/20/21 Page 8 of 17 PageID 8




       37.     As a result of the defendant’s wrongful conduct, the plaintiff has been caused to

suffer severe economic and emotional damages in the sum of ONE MILLION ($1,000,000)

DOLLARS.

                                         COUNT II
                     Violation of the New York State Human Rights Law
                          Disparate Treatment Based on Disability

       38.     Plaintiff repeats and realleges the allegations contained in paragraphs “1” through

“37” of the Complaint as if more fully set forth herein.

       39.     Plaintiff suffers from a disability (Type II Diabetes) as defined by New York State

Executive Law § 292(21), because Plaintiff’s diabetes is a physical or medical impairment

resulting from anatomical, physiological, genetic or neurological conditions which prevents the

exercise of a normal bodily function and is demonstrable by medically accepted clinical or

laboratory diagnostic techniques.

       40.     In the alternative, Plaintiff suffers from a disability as defined by New York State

Executive Law § 292(21), because he had a condition regarded by Defendant as such an

impairment.

       41.     Plaintiff was treated in a disparate manner as a result of having such an impairment

or having a condition regarded by Defendant as such an impairment, and was therefore caused to

suffer adverse employment actions, including suspension without pay and termination.

       42.     Plaintiff was treated in a disparate manner as a result of his disability and was

therefore caused to suffer adverse employment actions, including suspension without pay and

termination.

       43.     Plaintiff’s disability is a significant reason for his being treated in a disparate

manner.



                                                   8
 Case 6:21-cv-01081-CEM-LRH Document 1 Filed 04/20/21 Page 9 of 17 PageID 9




       44.     As a result thereof, the defendant discriminated against the plaintiff based upon his

disability, in violation of the New York State Human Rights Law.

       45.     As a result of the defendant’s wrongful conduct, the plaintiff has been caused to

suffer severe economic and emotional damages in the sum of ONE MILLION ($1,000,000)

DOLLARS.

                                           COUNT III
                         Violation of the Americans with Disabilities Act
                                     Failure to Accommodate

       46.     Plaintiff repeats and realleges the allegations contained in paragraphs “1” through

“45” of the Complaint as if more fully set forth herein.

       47.     Plaintiff suffers from a disability (Type II Diabetes) as defined by the Americans

with Disabilities Act.

       48.     On or about January 6, 2020, plaintiff informed JetBlue of his Type II Diabetes

diagnosis. Therefore, defendant was aware of plaintiff’s disability.

       49.     As a result of being aware of plaintiff’s disability, JetBlue was obligated to

provide plaintiff with a reasonable accommodation for his known disability and to enter into a

good faith interactive discussion with plaintiff.

       50.     Defendant failed to provide plaintiff with a reasonable accommodation, as

required by the Americans with Disabilities Act.

       51.     Defendant failed to enter into a good faith interactive discussion with plaintiff, as

required by the Americans with Disabilities Act.

       52.     As a result of the defendant’s failure, the plaintiff has been caused to suffer

economic and emotional harm.




                                                    9
Case 6:21-cv-01081-CEM-LRH Document 1 Filed 04/20/21 Page 10 of 17 PageID 10




       53.     As a result of the defendant’s wrongful conduct, the plaintiff has been caused to

suffer severe economic and emotional damages in the sum of ONE MILLION ($1,000,000)

DOLLARS.

                                          COUNT IV
                      Violation of the New York State Human Rights Law
                                    Failure to Accommodate

       54.     Plaintiff repeats and realleges the allegations contained in paragraphs “1” through

“53” of the Complaint as if more fully set forth herein.

       55.     Plaintiff suffers from a disability (Type II Diabetes) as defined by the New York

State Human Rights Law.

       56.     On or about January 6, 2020, plaintiff informed JetBlue of his Type II Diabetes

diagnosis. Therefore, defendant was aware of plaintiff’s disability.

       57.     As a result of being aware of plaintiff’s disability, JetBlue was obligated to

provide plaintiff with a reasonable accommodation for his known disability and to enter into a

good faith interactive discussion with plaintiff.

       58.     Defendant failed to provide plaintiff with a reasonable accommodation, as

required by the New York State Human Rights Law.

       59.     Defendant failed to enter into a good faith interactive discussion with plaintiff, as

required by the New York State Human Rights Law.

       60.     As a result of the defendant’s failure, the plaintiff has been caused to suffer

economic and emotional harm.

       61.     As a result of the defendant’s wrongful conduct, the plaintiff has been caused to

suffer severe economic and emotional damages in the sum of ONE MILLION ($1,000,000)

DOLLARS.



                                                    10
Case 6:21-cv-01081-CEM-LRH Document 1 Filed 04/20/21 Page 11 of 17 PageID 11




                                           COUNT V
                                     Violation of Title VII
                                    Religious Discrimination

       62.     Plaintiff repeats and realleges the allegations contained in paragraphs “1” through

“61” of the Complaint as if more fully set forth herein.

       63.     Title VII of the Civil Rights Act provides that it is an unlawful employment

practice for an employer “to discharge, or otherwise to discriminate against any individual with

respect to his compensation, terms, conditions, or privileges of employment, because of such

individual’s … religion.” 42 U.S.C. § 2000e-2(a)(1).

       64.     Defendant suspended and discharged Plaintiff because of his Jewish religion.

       65.     Defendant’s conduct constitutes discriminatory treatment on the basis of his

religion in violation of 42 U.S.C. § 2000e-2(a)(1).

       66.     As a result of the defendant’s wrongful conduct, the plaintiff has been caused to

suffer severe economic and emotional damages in the sum of ONE MILLION ($1,000,000)

DOLLARS.

                                          COUNT VI
                     Violation of the New York State Human Rights Law
                                   Religious Discrimination

       67.     Plaintiff repeats and realleges the allegations contained in paragraphs “1” through

“66” of the Complaint as if more fully set forth herein.

       68.     The New York State Human Rights Law provides that it is an unlawful

discriminatory practice for an employer to discharge or discriminate against any individual in

compensation or in terms, conditions or privileges of employment because of such individual’s

creed. N.Y. Executive Law, § 296(1)(a).




                                                 11
Case 6:21-cv-01081-CEM-LRH Document 1 Filed 04/20/21 Page 12 of 17 PageID 12




        69.    Defendant suspended and discharged Plaintiff because of his creed, namely, his

Jewish religious beliefs.

        70.    Defendant’s conduct constitutes discriminatory treatment on the basis of his

religion in violation of the New York Human Rights Law.

        71.    As a result of the defendant’s wrongful conduct, the plaintiff has been caused to

suffer severe economic and emotional damages in the sum of ONE MILLION ($1,000,000)

DOLLARS.

                                           COUNT VII
                                     Violation of Title VII
                                   Hostile Work Environment

        72.    Plaintiff repeats and realleges the allegations contained in paragraphs “1” through

“71” of the Complaint as if more fully set forth herein.

        73.    Anti-Semitic comments by other Flight attendants and Pilots, as reported by

Kallman to JetBlue, were severe and pervasive, and created a hostile work environment.

        74.    Plaintiff perceived his work environment to be hostile and abusive because of his

religion.

        75.    JetBlue failed to take action to prevent and promptly correct the anti-Semitic

harassment, in violation of Title VII.

        76.    As a result of the defendant’s failure, the plaintiff has been caused to suffer severe

emotional harm.

        77.    As a result of the defendant’s wrongful conduct, the plaintiff has been caused to

suffer severe emotional damages in the sum of ONE MILLION ($1,000,000) DOLLARS.




                                                 12
Case 6:21-cv-01081-CEM-LRH Document 1 Filed 04/20/21 Page 13 of 17 PageID 13




                                         COUNT VIII
                     Violation of the New York State Human Rights Law
                                  Hostile Work Environment

        78.    Plaintiff repeats and realleges the allegations contained in paragraphs “1” through

“77” of the Complaint as if more fully set forth herein.

        79.    Anti-Semitic comments by other flight attendants and pilots, as reported by

Kallman to JetBlue, subjected plaintiff to harassment based on his religion and created a hostile

work environment in violation of the New York State Human Rights Law.

        80.    As a result of the harassment, the plaintiff has been caused to suffer severe

emotional harm.

        81.    As a result of the defendant’s wrongful conduct, the plaintiff has been caused to

suffer severe emotional damages in the sum of ONE MILLION ($1,000,000) DOLLARS.

                                          COUNT IX
                                      Violation of Title VII
                                           Retaliation

        82.    Plaintiff repeats and realleges the allegations contained in paragraphs “1” through

“81” of the Complaint as if more fully set forth herein.

        83.    Defendant retaliated against plaintiff for reporting the hostile work environment

based on religious discrimination, including by suspending and terminating him, in violation of

Title VII.

        84.    As a result of the retaliation, the plaintiff has been caused to suffer severe

economic and emotional harm.

        85.    As a result of the defendant’s wrongful conduct, the plaintiff has been caused to

suffer severe economic and emotional damages in the sum of ONE MILLION ($1,000,000)

DOLLARS.



                                                 13
Case 6:21-cv-01081-CEM-LRH Document 1 Filed 04/20/21 Page 14 of 17 PageID 14




                                         COUNT X
                     Violation of the New York State Human Rights Law
                                         Retaliation

       86.     Plaintiff repeats and realleges the allegations contained in paragraphs “1” through

“85” of the Complaint as if more fully set forth herein.

       87.     Defendant retaliated against plaintiff for reporting the hostile work environment

based on religious discrimination, including by suspending and terminating him, in violation of

the New York State Human Rights Law.

       88.     As a result of the retaliation, the plaintiff has been caused to suffer severe

economic and emotional harm.

       89.     As a result of the defendant’s wrongful conduct, the plaintiff has been caused to

suffer severe economic and emotional damages in the sum of ONE MILLION ($1,000,000)

DOLLARS.

                                          COUNT XI
                    Violation of the Age Discrimination in Employment Act

       90.     Plaintiff repeats and realleges the allegations contained in paragraphs “1” through

“89” of the Complaint as if more fully set forth herein.

       91.     Defendant discriminated against the plaintiff on the basis of plaintiff’s age (60

years old).

       92.     Plaintiff was treated in a disparate manner as compared to other employees.

       93.     Plaintiff was fired from his job.

       94.     A motivating factor for the treatment of the plaintiff was his age.

       95.     Plaintiff has been caused to suffer severe economic and emotional damages as a

result of defendant’s wrongful conduct.




                                                   14
Case 6:21-cv-01081-CEM-LRH Document 1 Filed 04/20/21 Page 15 of 17 PageID 15




       96.     Defendant discriminated against the plaintiff with respect to his employment

terms, working conditions, and privileges of employment in violation of the Age Discrimination

in Employment Act.

       97.     But for the plaintiff’s age, the plaintiff would not have been subjected to

discrimination.

       98.     As a result of the defendant’s wrongful conduct, the plaintiff has been caused to

suffer severe economic and emotional damages in the sum of ONE MILLION ($1,000,000)

DOLLARS.

                                         COUNT XII
                     Violation of the New York State Human Rights Law
                                      Age Discrimination

       99.     Plaintiff repeats and realleges the allegations contained in paragraphs “1” through

“98” of the Complaint as if more fully set forth herein.

       100.    Defendant discriminated against the plaintiff on the basis of plaintiff’s age (60

years old).

       101.    Plaintiff was treated in a disparate manner as compared to other employees.

       102.    Plaintiff was fired from his job.

       103.    A motivating factor for the treatment of the plaintiff was his age.

       104.    Plaintiff has been caused to suffer severe economic and emotional damages as a

result of defendant’s wrongful conduct.

       105.    Defendant discriminated against the plaintiff with respect to his employment

terms, working conditions, and privileges of employment in violation of the New York State

Executive Law § 296 et seq.




                                                   15
Case 6:21-cv-01081-CEM-LRH Document 1 Filed 04/20/21 Page 16 of 17 PageID 16




       106.       But for the plaintiff’s age, the plaintiff would not have been subjected to

discrimination.

       107.       As a result of the defendant’s wrongful conduct, the plaintiff has been caused to

suffer severe economic and emotional damages in the sum of ONE MILLION ($1,000,000)

DOLLARS.

                                           COUNT XIII
                        Violation of the New York State Human Rights Law
                                 Sexual Orientation Discrimination

       108.       Plaintiff repeats and realleges the allegations contained in paragraphs “1” through

“107” of the Complaint as if more fully set forth herein.

       109.       The New York State Human Rights Law provides that it is an unlawful

discriminatory practice for an employer to discharge or discriminate against any individual in

compensation or in terms, conditions or privileges of employment because of such individual’s

sexual orientation. N.Y. Executive Law, § 296(1)(a).

       110.       Defendant suspended and discharged Plaintiff because of his sexual orientation

(heterosexual).

       111.       Defendant’s conduct constitutes discriminatory treatment on the basis of his sexual

orientation in violation of the New York Human Rights Law.

       112.       As a result of the defendant’s wrongful conduct, the plaintiff has been caused to

suffer severe economic and emotional damages in the sum of ONE MILLION ($1,000,000)

DOLLARS.




                                                   16
Case 6:21-cv-01081-CEM-LRH Document 1 Filed 04/20/21 Page 17 of 17 PageID 17
